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     1    MICHAEL JAY BERGER (State Bar # 100291)
          LAW OFFICES OF MICHAEL JAY BERGER
     2    9454 Wilshire Boulevard, 6th Floor
          Beverly Hills, California 90212
     3    T: 1.310.271.6223 F: 1.310.271.9805
          F: Michael.Bergerbankruptcypower.corn
          Attorney for Debtor-in-Possession
          Mr. Tortilla, Inc.
 6
 7                                UNITED STATES BANKRUPTCY COURT

 8                                  CENTRAL DISTRICT OF CALIFORNIA

 9                                   SAN FERNANDO VALLEY DIVISION

10
11       In re                                                Case No.: 1:24-bk-I 022 8-VK
12                                                            Chapter 11
13       MR. TORTILLA, INC.,
                                                             SECOND DECLARATION OF
14                               Debtor-in-Possession.       ANTHONY ALCAZAR IN SUPPORT
                                                             OF DEBTOR’S MOTiON FOR ORDEI
15                                                           AUTHORiZING CONTINUED USE
                                                             OF CASH COLLATERAL PURSUAN1
16                                                           TO 11 U.S.C. § 363
17                                                           Continued Hearing Scheduled For.
                                                             Date: August 1, 2024
                                                             Time: 1:00p.m.
19                                                           Place: Courtroom 301
                                                                    21041 I3urbank Blvd. Suite 354
20                                                                  Woodland Hills, CA 91367

21
22               TO THE HONORABLE VICTORIA S. KAUFMAN, JUDGE OF THE

23
         UNITED STATES BANKRUPTCY COURT, TO THE UNITED STATES
24
         TRUSTEE AND TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS
25
26       OF RECORD:

27
28




         DECLARAI1ON OF ANTHONY ALCAZAR IN SuPPORT OF DEBTOR’S MOTION FOR ORI)FR AUTHORIZING CONTINUED uSE OF
                                     CASH COLLATERAl. PURSUANT TO I I U.S.C. 363
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     1                           DECLARATION OF ANTHONY ALCAZAR
 2               I, Anthony Alcazar, declare and state as follows:
 3               1.      I am the President and Director of Mr. Tortilla, Inc., the Debtor and Debtor-
         in-Possession (the “Debtor”). I am over the age of 18. I have personal knowledge of the
         facts I state below, and if I were to be called as a witness, I could and would competently
 6
         testi1’ about what I have written in this declaration.
                 2.      On February 14, 2024 (the “Petition Date”), the Debtor commenced the
 8
         Chapter 11 Case by filing a voluntary petition under chapter 11 of the Bankruptcy Code.
 9
         The Debtor operates its business and manage its property as a debtor in possession
10
         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No official committee of
         unsecured creditors has been appointed in the Case.
12
                 3.     On May 9, 2024. I)ebtor filed its Motion for Order Authorizing Continued
13
         Use of Cash Collateral (“Continued Cash Collateral Motion”) [docket no. 166].
14
15               4.     Debtor’s second revised budget in support of the Continued Cash Collateral

16       Motion is attached hereto as Exhibit-i. This revised budget updates and replaces the

17       budget attached to the Continued Cash Collateral Motion, and the budget attached to the

18       May 13, 2024 Declaration of Anthony Alcazar In Support of Debtor’s Motion for Order

19       Authorizing Continued Use ol Cash Collateral Idocket no. 177].
20
21               I declare under penalty of perjury that the foregoing is true and correct and that
22       this declaration is executed on July 15, 2024 at San Fernando, California.
23
24
25                                                                    Anthony Alcazar                —




26
27
28



                                                          2
         DECLARATION OF ANTHONY ALCAZAR IN SUPPORT OF DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF
                                     CASI-l COLLATERAL PURSUANI’ TO II U.S.C. 363
Case 1:24-bk-10228-VK   Doc 253 Filed 07/15/24 Entered 07/15/24 18:32:38   Desc
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                            EXHIBIT 1
                                                    -
                     Projected Income and Expenses Mr. TortiHa, Inc.
                                                       Jul-24          Aug-24         Sep-24         Oct-24        Nov-24       Dec-24        Total
Income
 Amazon FBA Inventory Credit                              $4,620.00      $4,804.81     $4,997.00      $5,196.88     $5,404.75     $5,134.51      $30,157.95
 Amazon Gift wrap credits                                     $3.89          $4.05         $4.21          $4.38         $4.56         $4.33          $25.42
 Amazon Promotional Rebate Refunds                          $666.18        $692.83       $720.54        $749.36       $779.34       $740.37       $4,348.62
 AmazonSales-CAD                                         $17,994.88     $68,674.83    $69,361.58     $70,055.20    $70,755.75    $71,463.31     $368,305.54
 AmazonSales-DE                                               $0.00          $0.00         $0.00          $0.00         $0.00         $0.00           $0.00
 Amazon Sales UK -

                                                              $0.00          $0.00         $0.00          $0.00         $0.00         $0.00           $0.00
 AmazonSales-US                                           $2,667.88      $2,721.23     $2,830.08      $2,943.29     $3,061.02     $2,907.97      $17,131.47
                 -
 Amazon Sales Vendor US                                 $220,000.00    $201,954.00   $208,214.57    $211,546.01   $213,873.01   $211,734.28   $1,267,321.88
                                                                                                                                                                                          Case 1:24-bk-10228-VK




 Amazon Shipping Credits                                     $65.11         $67.71        $70.42         $73.24        $76.17        $72.36         $425.00
 eBay Sales                                                 $150.61       $156.63        $162.90        $169.41       $176.19       $167.38         $983.11


 Other Sales                                             $54,027.59     $64,577.80    $67,806.69     $70,518.96    $73,339.72    $69,672.73     $399,943.49
 Sales Tax                                                $1,054.01      $1,096.17     $1,140.01      $1,185.61     $1,233.04     $1,171.39       $6,880.23
                                                                                                                                                                   Main Document




 Shopify Promotional Discounts                          -$18,625.00    -$20,487.50   -$22,536.25    -$24,789.88   -$27,268.86   -$25,905.42     -$139,612.91
 Shopify Sales                                           $74,500.00     $81,950.00    $90,145.00     $99,159.50   $109,075.45   $103,621.68      $558,451.63
 Shopify Shipping                                         $1,393.00      $1,532.30                    $1,854.08
                                                                                       $1,685.53                    $2,039.49     $1,937.52       $10,441.92
 Walmart Sales                                           $10,500.00     $11,550.00    $12,705.00     $13,975.50    $15,373.05    $14,604.40       $78,707.95
                                                                                                                                                      $0.00
Gross Income                                            $369,018.15    $419,294.86   $437,307.29t   $452,641.54] $467,922.66]   $457,326.80   $2,603,511.30
                                                                                                                                                                                    Page 4 of 12




Expenses
 Amazon Adjustments                                          $23.95         $91.41        $95.06         $98.87       $102.82       $106.93          $519.04
 Amazon Carriershipping label adjustments                    $23.72         $90.52        $94.14         $97.90       $101.82        $97.75          $505.84
 AmazonCostofAdvertising                                 $14,117.58     $14,682.28    $15,269.57                   $16,515.57    $15,854.95
                                                                                                     $15,880.36                                   $92,320.31
Amazon FBA inventory and inbound services fees              $517.33      $1,974.32     $2,053.30      $2,135.43     $2,220.84     $2,132.01       $11,033.23
 Amazon FBA product sale refunds                            $285.98      $1,091.39     $1,135.04      $1,180.44     $1,227.66     $1,178.56           $6,099.07
 Amazon FBA selling fees                                  $2,441.45      $9,317.43     $9,690.13     $10,077.74    $10,480.85    $10,061.61       $52,069.21
                                                                                                                                                                  Doc 253 Filed 07/15/24 Entered 07/15/24 18:32:38




 AmazonFBAtransactionfees                                 $2,371.95      $9,052.21     $9,414.30      $9,790.87    $10,182.51     $9,775.21       $50,587.05
 Amazon Promotional Rebates                              $10,985.04     $11,325.58    $11,676.67     $12,038.65    $12,159.03    $11,429.49       $69,614.45
 Amazon Refund administration fees                             $7.77        $29.64        $30.83         $32.06        $33.34        $32.01          $165.64
 AmazonServicefees
                                                                                                                                                                                          Desc




                                                            $252.16        $962.34     $1,000.84      $1,040.87     $1,082.51     $1,039.21        $5,377.93
 Amazon Shipping credit refunds          $4.59       $17.51        $18.22        $18.94        $19.70        $18.91          $97.88
 Amazon Vendor Base Co-Op          $26,400.00    $24,234.48    $24,985.75    $25,385.52    $25,664.76     $25,408.11    $152,078.63
 Amazon Vendor Damage Allowance      $4,400.00     $4,039.08     $4,164.29     $4,230.92     $4,277.46     $4,234.69     $25,346.44
 Amazon Vendor Pick Up Allowance     $6,600.00     $6,058.62     $6,246.44     $6,346.38     $6,416.19     $6,352.03     $38,019.66
Amazon Vendor Invoice Discount       $4,400.00     $4,039.08     $4,164.29     $4,230.92     $4,277.46     $4,234.69     $25,346.44
 Raw Materials                      $69,229.52    $71,998.70    $74,878.64    $77,873.79    $80,988.74    $77,749.19    $452,718.58
Payroll                             $26,470.23    $84,223.46    $88,434.64    $92,856.37    $97,499.19    $93,599.22    $483,083.11
Payroll Taxes                        $2,858.79     $9,096.13     $9,550.94    $10,028.49    $10,529.91    $10,108.72     $52,172.98
Worker’s Comp (estimated)              $842.23     $1,684.47     $1,768.69     $1,857.13     $1,949.98     $1,871.98      $9,974.49
 Ebay Fees                              $92.51        $96.21       $100.06      $104.06       $108.22        $103.89        $604.94
 PayPal Fees                            $12.25        $12.74        $13.25        $13.78       $14.33         $13.76          $80.10
                                                                                                                                                               Case 1:24-bk-10228-VK




 Sales Tax Expense                   $1,095.12     $1,138.92     $1,184.48     $1,231.86     $1,281.13     $1,229.89       $7,161.40
 Shipping, Freight & Delivery       $29,039.60    $30,201.18    $31,409.23    $32,665.60    $33,972.22    $32,613.34    $189,901.18
 Shopify Fees                        $2,681.62     $2,788.89     $2,900.44     $3,016.46     $3,137.12     $3,011.63     $17,536.17
 Shopify Refunds                     $1,477.11     $1,536.19     $1,597.64     $1,661.55     $1,728.01     $1,658.89      $9,659.39
 Walmart Fulfillment Services         $791.98       $823.66       $856.60        $890.87      $926.50       $889.44       $5,179.04
 WalmartAdjustments                    $10.64        $11.06        $11.50         $11.96       $12.44         $11.95         $69.55
 Walmart Commission
                                      $551.16       $573.20       $596.13        $619.98      $644.78       $618.99       $3,604.24
 Walmart Refunds
                                       $50.13        $52.13        $54.22         $56.39       $58.64        $56.30         $327.82
                                                                                                                                        Main Document




                                                                                                                               $0.00
COGS                               $208,034.39   $291,242.85   $303,395.33   $315,474.14   $327,613.75   $315,493.32   $1,761,253.79
                                                                                                                                                         Page 5 of 12
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IrjsiderCompensation-AnthonyAlcazar                      $10,000.00   $10,000.00    $9,500.00    $9,500.00    $9,500.00    $9,500.00    $58,000.00



Insider Compensation     -   Ronald Alcazar               $8,800.00    $8,800.00    $8,300.00    $8,300.00    $8,300.00    $8,300.00    $50,800.00
                         -
Insider Compensation Tony Alcazar                         $6,700.00    $6,700.00    $6,700.00    $6,700.00    $6,700.00    $6,700.00    $40,200.00
 Auto Expense                                               $800.00      $800.00      $800.00      $800.00      $800.00     $800.00      $4,800.00
   Car Lease                                              $2,700.00    $2,700.00    $2,700.00    $2,700.00    $2,700.00    $2,700.00    $16,200.00
Insurance
                                                                                                                                                                             Case 1:24-bk-10228-VK




                                                          $4,000.00    $4,000.00    $4,000.00    $4,000.00    $4,000.00    $4,000.00    $24,000.00
Repair&Maintenance                                        $2,251.02    $2,318.55    $2,411.29    $2,507.74    $2,608.05    $2,712.37    $14,809.02
Outside Sales                                             $9,600.00    $4,600.00    $4,600.00    $4,600.00    $4,600.00    $4,600.00    $32,600.00
 Bank Charges & Fees                                       $250.00       $250.00      $250.00      $250.00     $250.00       $250.00     $1,500.00


 Facebook Advertising                                    $22,250.00   $23,362.50   $24,297.00   $25,268.88   $26,279.64   $27,330.82   $148,788.84
 Licenses & Fees                                          $3,566.85    $3,673.85    $3,673.85    $3,673.85    $3,673.85    $3,673.85    $21,936.12
                                                                                                                                                      Main Document




Marketing Expenses                                        $5,649.77    $5,819.26    $6,052.03    $6,294.11    $6,545.88    $6,807.71    $37,168.77
 Office Expenses                                          $2,500.00    $2,500.00    $2,600.00    $2,704.00    $2,812.16    $2,924.65    $16,040.81

Equipment Rental                                            $790.00      $790.00      $790.00      $790.00      $790.00      $790.00     $4,740.00
1112 Arroyo St. Unit A                                    $7,986.00    $7,986.00    $7,986.00    $7,986.00    $7,986.00    $7,986.00    $47,916.00
1112 Arroyo St. Unit B                                    $4,143.00    $4,143.00    $4,143.00    $4,143.00    $4,143.00    $4,143.00    $24,858.00
                                                                                                                                                                       Page 6 of 12




JSIJS Stipulated Backpay                                  $4,756.93    $4,756.93    $4,756.93    $4,756.93    $4,756.93    $4,756.93    $28,541.58
1104 Arroyo St.
                                                          $7,589.00    $7,589.00    $7,589.00    $7,589.00    $7,589.00    $7,589.00    $45,534.00
 Software Subscription License                            $1,653.93    $1,703.55    $1,771.69    $1,842.56    $1,916.26    $1,992.92    $10,880.92
 Travel                                                   $1,200.51    $1,236.52    $1,285.98    $1,337.42    $1,390.92    $1,446.56     $7,897.91


 Utilities                                                $3,449.67    $3,553.16    $3,695.28    $3,843.09    $3,996.82    $4,156.69    $22,694.70
U.S. Small Business Administration (SBA)                  $1,237.00    $1,237.00    $1,237.00    $1,237.00    $1,237.00    $1,237.00     $7,422.00
Adequate Protection Payments to Amazon Capital
                                                                                                                                                     Doc 253 Filed 07/15/24 Entered 07/15/24 18:32:38




Services, Inc.                                            $5,000.00    $5,000.00    $5,000.00    $5,000.00    $5,000.00    $5,000.00    $30,000.00
Deborah Tyrell (Bookkeeping Services)- For Preparation
of MOR                                                    $2,000.00    $1,500.00    $1,500.00    $1,500.00    $1,500.00    $1,500.00     $9,500.00
Amazon US SellerAccount Payments
                                                                                                                                                                             Desc




                                                          $1,000.00    $1,000.00    $1,000.00    $1,000.00    $1,000.00    $1,000.00     $6,000.00
Oliver Bookkeeping                                $3,000.00     $3,000.00
                                            I                                 $1,000.00     $1,000.00     $1,000.00     $1,000.00     $10,000.00
                                 -
Law Offices of Michael Jay Berger TBD                           $5,000.00     $5,000.00     $5,000.00     $5,000.00     $5,000.00     $25,000.00
Payment to Lyneer                                $32,030.06                                $10,000.00    $10,000.00    $10,000.00     $62,030.06
                         -
Office of the U.S. Trustee Quarterly Fees
Accruing (estimated)                              $1,345.05     $1,364.24     $1,376.61     $1,531.73     $1,531.32     $1,500.18       $8,649.13
Total Other Expenses                            $156,248.78   $125,383.56   $124,015.67   $135,855.32   $137,606.83   $139,397.68     $818,507.86
Total Expenses                                  $364,283.18   $416,626.42   $427,411.01   $451,329.47   $465,220.58   $454,891.00   $2,579,761.65
Net Income                                        $4,734.97     $2,668.44     $9,896.28     $1,312.07     $2,702.08     $2,435.79      $23,749.64
                                                                                                                                                                            Case 1:24-bk-10228-VK
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                                           PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 9454 Wilshire Blvd., 6t Fl., Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specij5’ Second Declaration of Anthony Alcazar in Support
of Debtor’s Motion for Order Authorizing Continued Use of Cash Collateral will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
7/15/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below.




                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 7/15/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.




                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                   7/15/2024, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed
Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Stute 354/Courtroom 301
Woodland Hills. CA 91367
                                                                        LI Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

        7/15/2024                             Peter Garza                                       Is/Peter Garza
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California


June 2012                                                                                           F 901 33.1 .PROOF.SERVICE
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 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Counsel for I)ebtor: Michael Jay Berger michael.hergcr(?bankruptcypower.com.
yathida.nipha@bankruptcypower.com: michael.bergerecf.inforuptcy.com
Counsel for Metropolitan Capital Bank & Trust: Jeffrey N Brown jbrownthompsoncoburn.com.
cniam ayson@thompsoncoburn.com, srnagnusthornpsoncoburn .com, DocketLA@thompsoncoburn corn
U.S. Trustee: Katherine Bunker kate.bunkerusdoj.gov
Counsel for Sand Park: Brian T Corrigan      bcorrigancormorllp.corn, scrn@cormorllp.com
Counsel for Spartan Business Solutions: Anthony F. Giuliano     afgglpcny.corn
Counsel for  8fig Inc.: John E Johnson  jjohnson@padfieldstout.com
Counsel for Dekirmenjian Family Trust: Bret D Lewis      Bretlewis@aol.com, bdlawyagergrnail.corn
Interested Party: Matthew D. Resnik     Matt@rhmfinn.com, roksana@rhrnfirrn.com; rosario@rhmtirrn.com
sloan@rhtnfirrn.com; priscillarhmfirm.corn; rebeca@rhrnfirm.com; david@rlimfirm.com; susie@rhmflfm.com:
naxrhm finn .com; russ@rhm firm coin
Counsel for Amazon Capital: Brandy A Sargent       brandy.sargentklgates.com, litigation.docketingi;klgates.com:
janna.leasyklgates.com
United States Trustee (SV) ustpregion I 6.wh.ccf?usdoj.gov
Counsel for SBA: Elan S Levey elan.leveyusdoj.gov, mana1ili47gmail.corn: julie.moralesusdoj.gov
Official Committee of Unsecured Creditors Jeffery D Hermann jherrnann@orrick.com,
casestream@ecf.courtdrive.com
Counsel for Blue Bridge: Jeffrey Garfinkle jgarfinkle@buchalter.com, docket@buchalter.com;
lverstegenbuchalter.com

2. SERVED BY UNITED STATES MAIL

U .S. Trustee:
Katherine Bunker
915 Wilshire I3lvd., Ste. 1850
Los Angeles, CA 90017

SECURED CREDITORS:

8Fig, Inc.
1 1.801 Domain Blvd, Third Floor
Austin, TX 78758

8Fig, Inc.
1717 W. 6th Street, Suite 335
Austin. TX 78703

Amazon Capital Services, Inc.
c/o K&l. Gates LLP
One SW Columbia St. Ste. 1900
Portland, OR 97204

Amazon Capital Services
P0 Box 84837
Seattle, WA 98124-6137




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 901 33.1.PROOF.SERVCE
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 Amazon Capital Services, Inc.
 410 Trry Ave. N.
 Seattle. WA 98109

 Amazon Capital Services, Inc.
 c/o Davis Wright Tremaine LLP
 Attn: Lauren Dorsett, Esq.
 A 920 5th Avenue, Suite 330
 Seattle. WA 98104-1610

 Blue Bridge Financial, Inc.
 11921 Freedom Drive, Suite 1130
 Reston, VA 20190 (Address from POC)

Bluevine
30 Montgomery Street, Ste 1400
Jersey City, NJ 07302

Cedar Advance
2917 Avenue I
Brooklyn, NY 11210

Cedar Advance
c/o Corrigan & Morris LLP
1 00 Wilshire Blvd., Ste. 700
Santa Monica, CA 90401

Corporation Service Company
As Representative
P0 Box 2576
Springfield, IL 62708

CT Corporation Service Company
as Representative
P0 Box 2576
Springfield, IL 62708

Fasanara Securitisation S.A. Acting
For and On Behalf of Its Compartrnen
36-38 Grand-RUE
Grand Duc hy of Luxembourg
Grand Duchy of’ Luxembourt 1 660

Financial Pacific Leasing. Inc.
P0 Box 4568
Auburn, WA 98001

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 901 33.1.PROOF.SERVICE
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Financial Pacific Leasing, Inc.
3455 S 344th Way #300
Auburn. WA 9800 1-9546

First Corporate Solutions
as Representative
914 S. Street
Sacramento, CA 95811

Huntington Valley Bank
990 Spring Garden Street 700
Philadelphia, PA 19123

Huntington Valley Bank
First Citizen Square
1 5 South Main Street
Mansfield, PA 16933-1590

Mercury Capital
27702 Crown Valley Pkwy
Bldg D4 #205
Ladera Ranch, CA 92694

Metropolitan Capital Bank & Trust
9 East Ontario Street
Chicago. IL 60611

Parkside Funding Group LLC
865 Nj-33 Business 3 Unit 192
Freehold, NJ 07728

Partners Personnel
Management Services, LLC
3820 State Street, Ste B
Santa Barbara, CA 93 1 05

Robert Reiser and Company
725 Dedham Street
Canton, MA 02021

Sand Park Capital LLC
c/o Corrigan & Morris LLP
5401 Collins Aye, Ste. Cu-9A
Miami, FL 33140




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                                                    Main Document    Page 12 of 12


 Sand Park Capital LLC
 c/o Corrigan & Morris LLP
 Attn: Brian T. Corrigan
 1425 Foothills Village Dr.
 Henderson, NV 89012

Sellers Funding
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Ridgewood, NJ 07450

Shopify Capital
100 Shockoe Slip, 2nd Floor
Richmond, VA 23219

Slope Advance
7 Freelon Street
San Francisco, CA 94107

Spartan Capital
371 E Main St, Suite 2
Middletown, NY 10940

Stor RB One Limited
14 Old Queen Street
London, UK SWJH9I-IP GBR

U.S. Small Business Administration
10737 Gateway West, #300
El Paso, TX 79935

U.S. Small Business Administration
do Elan S. Levey
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